




NO. 07-07-0441-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



NOVEMBER 29, 2007



______________________________





DAVID STACY ROBIN STRATTON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 31ST DISTRICT COURT OF GRAY COUNTY;



NO. 7189; HONORABLE STEVEN R. EMMERT, JUDGE



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

Pending before this Court is David Stacy Robin Stratton’s 
Motion to Dismiss Appeal 
in which he represents he no longer wishes to pursue this appeal. &nbsp;As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant and his attorney. &nbsp;No decision of this Court having been delivered, the motion is granted and the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.


